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 8                                UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
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      PATRICIA FILARDI, an                                        Case No.: 5:20-cv-00860-CJC-KK
12    individual,
                Plaintiff,
13
      v.
14
                                                                  ORDER FOR DISMISSAL WITH
                                                                  PREJUDICE (DKT. 22)
      DUCKETT-WILSON
15
      DEVELOPMENT COMPANY; a
16    California corporation; ALTA
17
      LOMA CENTER; a business
      entity of unknown form; and
18    DOES 1-10, inclusive,
19
                        Defendants.
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     _________________________________________________________________________________________________________________________
28                           ORDER OF DISMISSAL WITH PREJUDICE
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Case 5:20-cv-00860-CJC-KK Document 23 Filed 09/30/20 Page 2 of 2 Page ID #:74



 1
              Having considered the Parties’ stipulation, and good cause shown, IT
 2
     IS HEREBY ORDERED: that this case is Dismissed with prejudice. Each
 3
     party to bear its own costs and fees.
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     IT IS SO ORDERED.
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        DATED: September 30, 2020
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                                                                      HON. CORMAC J. CARNEY
11
                                                               UNITED STATES DISTRICT JUDGE
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      _________________________________________________________________________________________________________________________
28                            ORDER OF DISMISSAL WITH PREJUDICE
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